       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 1 of 25




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



STATE OF NEW YORK,

                            Plaintiff,
v.
                                                              97-CV-0596Sr
PVS CHEMICALS, INC.,

                            Defendant.



                                DECISION AND ORDER

               Pursuant to 28 U.S.C. § 636(c), the parties have consented to the

assignment of this case to the undersigned to conduct all proceedings in this case,

including the entry of final judgment. Dkt. #45.



                                     BACKGROUND

               By letter dated April 3, 1985, the New York State Department of

Environmental Conservation (“NYSDEC”), advised PVS Chemicals, Inc. (“PVS

Chemicals”), that its property at 55 Lee Street, Buffalo, New York (Site Code 915004),

identified as the Allied Chemical, Industrial Chemical Division site, was included on the

registry of inactive hazardous waste disposal sites in New York as a Class 2a site

based upon groundwater samples indicating violation of standards for iron, lead and

pH. Exh. 22.



               A Phase I Investigation of the property, dated January, 1986, recounted

that prior to the purchase of the property by PVS Chemical, Allied Chemical Corporation
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 2 of 25




maintained a holding pond which received wastewater containing, inter alia, nitric acid

and sufluric acids, sulfur drainings, metallic nitric rinses (containing cadmium, copper,

nickel, potassium and iron). Exh. 27. The Phase I Investigation further noted that the

holding pond was removed from service in 1977, with accumulated solids and

contaminated soil excavated and transported for appropriate disposal. Exh. 27. The

Phase I Investigation acknowledged that groundwater samples detected heavy metals,

including copper, iron, lead, nickel and vanadium, with concentrations of iron and lead

exceeding the standards for drinking water, as well as excessive pH. Exh. 27.



              In 1987, PVS Chemical purchased additional property from Allied

Chemical Corporation pursuant to an agreement whereby Allied Chemical Corporation

agreed to hold PVS Chemical harmless against any environmental remedial actions

required by the environmental condition of a parcel of that property as of the closing

date. Exh. 28.



              A Phase II Investigation, dated October, 1989, determined that

              Groundwater releases of benzene, toluene, aluminum,
              cadmium, calcium, potassium, silver, vanadium, and
              mercury potentially attributable to the site was a major
              finding of this investigation. Since groundwater is not used
              locally as a drinking water source, the releases do not
              appear to pose a significant public health threat. However,
              groundwater contamination in the area should be addressed
              for environmental reasons, and the potential for groundwater
              discharge to the Buffalo River. Additional investigation may
              be necessary to show conclusively that the former Allied
              Chemical surface impoundment is causing groundwater
              contamination. Given the site setting, with its thick mantle of
              low permeability clay and a fractured bedrock regime, it may

                                            -2-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 3 of 25




             be that other sources in this heavily industrialized area are
             contributing to the groundwater contamination.

Exh. 33.



             A Comprehensive Groundwater Monitoring Evaluation, dated December,

1991, recommended further evaluation. Exh. 35.



             On February 10, 1993, the NYSDEC advised PVS Chemicals that it had

“not identified any hazardous wastes at this site.” Exh. 39. As a result, the NYSDEC

notified PVS Chemicals

             of the deletion of such site from the Registry of Inactive
             Hazardous Waste Disposal Sites in New York State. This
             site will not appear in future registries, unless information is
             brought to our attention which justifies relisting the site.

Exh. 39.



             On July 24, 1997, the State of New York commenced this action alleging

that PVS Chemicals violated the Clean Water Act; Resource Conservation and

Recovery Act; articles 17 and 19 of the New York Environmental Conservation Law and

related state regulations addressing water and air pollution, respectively, and engaged

in a public nuisance by discharging and disposing of pollutants into the waters of New

York, including the Buffalo River and groundwater, and into the air, and by maintaining

illegal solid and hazardous waste activities and contaminated conditions at PVS

Chemicals’ Buffalo facility. Dkt. #1. A Second Amended Complaint was filed on

February 11, 2000. Exh. 45.

                                            -3-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 4 of 25




              By letter dated March 1, 2000, the State of New York outlined a five step

process for resolution of groundwater-related issues: (1) development of a site

investigation work plan; (2) implementation of a site investigation work plan; (3)

submission of a site investigation report; (4) submission of a “work plan for corrective

measures study that evaluates potential corrective measures to remediate impacted

environmental media; and (5) implementation of approved corrective measures work

plan. Exh. 47. The State of New York emphasized its position that

              in order to settle this lawsuit, it is essential that PVS make a
              firm commitment from the outset to undertake and complete
              this sequential process for addressing the State’s concerns
              regarding groundwater and related environmental resources.
              . . . The State will not settle the claims in its complaint
              piecemeal. For settlement to occur, the past inability to
              resolve this and other issues must be overcome in a
              comprehensive, binding legal document.

Exh. 47.



              By letter dated June 16, 2000, PVS Chemicals submitted a Work Plan for

Environmental Site Investigation. Exh. 51.



              By letter dated July 10, 2000, the State of New York provided PVS

Chemical with a proposed Consent Decree for settlement of this litigation. Exh. 52.



              By letter dated August 2, 2000, PVS Chemicals responded that the

proposed consent decree failed to offer any definite resolution of any issue. Exh.54.




                                             -4-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 5 of 25




              A Consent Decree dated September, 2000 proposes 5 groundwater-

related measures, including: (1) submission of a site investigation work plan; (2)

submission of a site investigation report; (3) submission of a work plan for a corrective

measures study; (4) submission of a corrective measures study work plan; and (5)

implementation and completion of the corrective measures. Exh. 53.



              By settlement memorandum dated December 5, 2000, PVS Chemicals

advised that it had submitted

              a “Work Plan” for Environmental Site Investigation (ET-832),
              dated May 30, 2000 prepared by Frontier Technical
              Associates, Inc. . . . Currently, two companies which own
              property immediately adjacent to PVS, Buffalo Color
              Corporation and Mobil Oil, are engaged in groundwater
              studies concerning their facilities which have extended onto
              PVS’s property. Buffalo Color has drilled and sampled from
              a number of wells on the PVS property. Mobil Oil will shortly
              be engaged in sampling on the PVS property. Both of these
              projects, with the consent and cooperation of PVS, involve
              contamination migrating from these two adjacent facilities.

              In 1989 at the request of the DEC Division of Hazardous
              Waste Remediation, a Phase II investigation was
              undertaken with respect to a portion of PVS’s facility on
              which Allied Chemical Company operated an unlined
              lagoon. Records indicated that the lagoon was clean and
              closed in 1978 and all excavated materials were disposed of
              offsite on behalf of Allied Chemical Company. The site was
              originally included on the list of inactive hazardous waste
              facilities prepared by New York in the late 1970s. The Phase
              II study initiated in 1989 was at the request of the State. The
              study concluded that hazardous waste was not present at
              the site and it was delisted (removed from the list of inactive
              hazardous waste sites). Subsequently, pursuant to ECL §
              27-1316, the site was listed as one containing hazardous
              substances and posing a “significant threat to the
              environment.” The basis of this decision was the State’s
              review of groundwater results from the prior Phase II study.
              PVS submitted a comment letter dated February 27, 1995 . .

                                            -5-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 6 of 25




             . which questioned the conclusion of the study and provided
             results from proper sampling. Subsequently, the State
             removed the site from the hazardous substance disposal
             site study by letter dated May 8, 1995 . . . . The reason for
             this removal was expressed in a DEC document as follows:
             “does not pose significant threat.”

             The legal basis for any further groundwater study at PVS
             would be evidence of a significant threat to the environment.
             In fact, no such evidence exists. Nevertheless, PVS will
             agree to perform the attached Work Plan.

Exh. 55.



             By letter dated January 5, 2001, the State of New York responded that it

was “prepared to enter into a comprehensive settlement of the referenced litigation

pursuant to a revised Consent Decree.” Exh. 56. As to groundwater-related measures,

the State of New York explained:

             As you know, the State’s claims in this regard are not limited
             to any single former impoundment. Rather, they are based
             on a history of various acts and omissions as well as
             documented conditions. For purposes of settlement, the
             proposed site investigation work plan should be revised, with
             regard to groundwater investigation, to focus along the
             Buffalo River shoreline. A total of nine wells . . . should be
             the subject of groundwater sampling for four quarters.

             As to soil investigation, the proposed work plan should be
             revised to provide a figure outlining the approximate
             locations of proposed soil samples. Exact sample locations
             should be determined in the field and biased for areas where
             sufur contamination is expected to be present. Additionally,
             the plan as outlined does not contemplate obtaining soil
             samples below a depth of twelve inches. Samples need to
             be collected at depths to adequately characterize the extent
             of contamination, pursuant to a sampling design that
             ensures the same which is based on the company’s
             understanding of the history of deposition.



                                          -6-
        Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 7 of 25




              Upon its approval by the State, the revised work plan should
              be implemented. After its implementation, a combined site
              investigation report/corrective measures study should be
              submitted for approval. This document should analyze and
              interpret the data, evaluate remedial alternatives, including
              no action, additional monitoring and corretive action, make
              recommendations regarding the same, and provide for
              implementation by the company of any such measures upon
              State approval.

Exh. 56.



              In a Settlement Memorandum dated February 16, 2001, PVS Chemicals

reiterated that

              the settlement must resolve all outstanding items. PVS
              cannot settle on the basis of submittals which are not
              reviewed and approved prior to entry of the settlement. PVS
              also objects to the requirement of a “combined site
              investigation report/corrective measure study.” This
              requirement assumes the results of the Environmental Site
              Investigation. Contrary to Plaintiff’s assertion regarding a
              “history of various acts and omissions as well as
              documented conditions,” PVS will [sic] concede RCRA
              violations. It is prepared to implement the proposed
              Investigation if approved prior to Settlement. The proposed
              Investigation provides for reports of the results of both the
              groundwater and soil investigation . . . If there is a basis for
              RCRA claims or remedies as indicated by the data
              generated by the proposed Investigation, that can be the
              subject of discussions and negotiation between PVS and
              DEC. PVS does not believe that it is the intent of the
              Consent Order to provide the context for all future regulatory
              actions and relations between the parties.

Exh. 58.



              By letter dated April 20, 2001, the State of New York advised:

              As to Section VIII (Groundwater-Related Measures), the
              State requires the undertaking of measures as previously

                                            -7-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 8 of 25




            drafted by the State in this section, with modifications as
            described in my January 5, 2001 letter. In the alternative, the
            proposed change that limits defendant’s commitment to
            performance of a site investigation in accordance with an
            approved site investigation work plan could be accompanied
            by a corresponding limited release. The State would reserve
            its rights to proceed against defendant for any liability that
            may result from the State’s determination that further
            measures are required, and defendant would reserve its
            rights to defend. With such a limited commitment by
            defendant, however, there would have to be more of a
            comprehensive site-wide investigation, rather than the
            compromise of a limited investigation as described in my
            January 5, 2001 letter. Please let me know which of these
            two alternatives you prefer; work plan revisions will be
            necessary in either case. Such alternative Consent Decree
            language, if necessary, can be discussed for this section,
            assuming an overall settlement otherwise seems feasible.

Exh. 60.



            By letter dated May 4, 2001, PVS Chemicals advised:

            I understand your alternative of a limited release in
            exchange for the proposed site investigation. However, it
            also appears that the proposal is not acceptable because
            you suggest both a more “comprehensive site-wide
            investigation” and that “work plan revisions will be necessary
            in either case.” Thus, it appears that the initial proposal
            prepared by Frontier Technical Associates in response to
            meetings with DEC in Spring, 2000 and the revised work
            plan in response to the comments of your letter of January
            5, 2001, submitted February 16, 2001 are being rejected.
            Again, there appears to be no rationale or technical review.

            It has always been my client’s position that settlement would
            require definitive resolution on each issue. That, of course,
            is why various work plans were prepared and submitted.

Exh. 61.




                                          -8-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 9 of 25




             On May 24, 2001, the State of New York proposed changes to the Work

Plan for Environmental Site Investigation (ET-832), dated February 2, 2001. Exh. 63.



             The State provided a Stipulation and Order of Partial Settlement on March

5, 2002, which set forth the following paragraph with respect to Groundwater and Soil-

Related Investigation:

             PVS has submitted and the State has approved a “Work
             Plan for Environmental Site Investigation at PVS Chemical
             Solutions, Inc.” (“Site Investigation Work Plan”) prepared by
             Frontier Technical Associates, Inc. The Site Investigation
             Work Plan is incorporated herein and made a part of this
             Stipulation and Order. A Copy of the Site Investigation Work
             Plan is attached as Exhibit A. Upon the effective date of this
             Stipulation and Order, PVS shall commence performance of,
             and thereafter complete the timely implementation of, the
             environmental site investigation in accordance with all the
             terms of the Site Investigation Work Plan, including but not
             limited to the timely delivery of the reports described therein.

Exh. 65. The Stipulation and Order of Partial Settlement also provides:

             Except as provided in the Reservation of Rights set forth
             above, this Stipulation and Order shall be in full settlement
             of all pending civil claims and liabilities against defendant, its
             directors, officers and employees that are alleged in the
             complaint and occurred at the facility prior to the effective
             date of this Stipulation and Order. The Stipulation and Order
             shall not be construed as being in settlement of events
             regarding which the State lacks knowledge, or occurring
             after the effective date of this Stipulation and Order

Exh. 65. The Reservation of Rights section provided, in relevant part that

             Nothing contain in this Stipulation and Order shall be
             construed as barring, diminishing, adjudicating or in any way
             affecting:

             1. The State’s right to proceed against defendant for any
                liability that may result from the State’s determination
                that further groundwater and/or soil-related measures are

                                            -9-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 10 of 25




                 required by law to be performed by defendant, and
                 defendant’s right to defend against the same;

              2. The State’s right to enforce this Stipulation and Order
                 against defendant in the event that defendant fails to
                 fulfill any of the terms or provisions hereof;

              3. The Parties’ obligation to comply with any and all
                 applicable federal or state laws or regulations;

              4. Any legal or equitable rights or claims, actions,
                 proceedings, suits, causes of actions or demands
                 whatsoever that the State may have against anyone
                 other than defendant, its directors, officers and
                 employees; or

              5. The State’s authority to enforce any and all applicable
                 laws for the protection of the public health, welfare and
                 the environment.

Exh. 65.



              In response, PVS Chemicals requested that references to the settlement

as being “partial” be deleted and that the italicized portion of the following paragraph be

added into the Reservation of Rights:

              Nothing contain in this Stipulation and Order shall be
              construed as barring, diminishing, adjudicating or in any way
              affecting:

              1. The State’s right to proceed against defendant for any
                 liability that may result from the State’s determination,
                 after review of the reports submitted upon performance
                 of the Site Investigation Work Plan, that further
                 groundwater and/or soil-related measures are required
                 by law to be performed by defendant, and defendant’s
                 right to defend against the same;

Exh. 66.




                                           -10-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 11 of 25




              On April 18, 2002, the parties entered into a Stipulation and Order of

Settlement (“2002 Order of Settlement”). Dkt. #73. In addition to the aforementioned

provisions, the parties agreed that this Court would “retain jurisdiction over the subject

matter of this action and the Parties to this Stipulation and Order to enforce its terms

and conditions upon application by either party, and to resolve disputes arising

hereunder.” Dkt. #103-4, p.14. Such jurisdiction encompasses “[a]ny dispute that arises

with respect to the meaning or application of this Stipulation and Order, or with respect

to any work, action, plan, schedule or submittal pursuant to this Stipulation and Order.”

Dkt. #103-4, p.17.



                 PVS Chemicals performed its obligations as set forth in the 2002

Order of Settlement. Dkt. #80, ¶ 7.



              Testing of groundwater conditions at the site conducted in 1986, 1989,

1993, 2001, 2002 and 2003 all confirm concentrations of cadmium, arsenic and

chlorobenzene in excess of standards. Dkt. #80, ¶ 27.



              In April of 2008, the United States Department of the Interior (“USDOI”),

prepared a Preassessment Screen for the Buffalo River which determined that there

was a reasonable probability that a successful claim for damages to natural resources

could be pursued against potentially responsible parties for the release of hazardous

substances into the environment. Exh. 72. In reliance upon this document, the USDOI

advised PVS Chemicals, inter alia, that it had been identified as a potentially

                                            -11-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 12 of 25




responsible party and invited PVS Chemicals to participate in the development,

performance and funding of a damage assessment. Exh. 79.



                PVS Chemicals declined to participate in the process. Exh. 80. By letter

dated May 29, 2009, PVS Chemicals challenged any basis for identification as a

potentially responsible party, explaining:

                According to the [report referenced in the Preassessment
                Screen], Site 107 was “excavated and filled with clean fill in
                1977,” four (4) years before Allied Chemical sold Lee Street
                to PVS. Therefore the G/G Report estimates of toxic loading
                related to site 107 appear to lack any causal relationship to
                PVS’ involvement at Lee Street.

                In addition, NYSDEC published a Buffalo River Remedial
                Action Plan Status Report dated June 1999 (“Report”). Table
                A-1 of the Report lists site 107 as Number 915004 and
                states under “Remediation Status” that a Phase II
                investigation was completed, that the site was “Delisted
                February 1993,” and that “[i]nvestigations did not indicate the
                presence of hazardous waste on site.” Therefore the
                materials you provided to us fail to suggest a basis for
                including PVS as a Potentially Responsible Party in an NRD
                action.

                Your letter also refers to a report prepared by Frontier
                Technical Associates dated May 2, 2003. Section 1.7 of that
                report, which is entitled “Groundwater Monitoring Report
                First Quarter 2003,”1 follows the summary of testing results
                for each well with comments that the constituents detected
                are consistent with previous periods of testing and historical
                results. . . . Those comments also suggest that the alleged
                discharges were addressed in a prior litigation and the
                settlement thereof, namely New York v. PVS Chemicals, Inc,
                WDNY Case No. 97 CV 05906A [sic].

Exh. 81.


       1
           The Frontier Report can be found at Exh. 93.

                                               -12-
      Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 13 of 25




             On July 12, 2010, the NYSDEC informed PVS Chemicals of its intent to

designate the site as a potential hazardous waste disposal site. Exh. 82. In support of

this action, the NYSDEC explained:

             A sludge lagoon was used for about 47 years for the
             disposal of various wastes. This lagoon was excavated in
             1977. The excavated material was transported to the Land
             Reclamation site in Cheektowaga. The excavation was
             backfilled with earth taken from the plant grounds. Three
             groundwater monitoring wells have been installed between
             the lagoon site and the Buffalo River. The wells were
             sampled by the U.S. Geological Survey in July of 1982. The
             samples were analyzed for chromium, copper, iron, lead,
             nickel, vanadium, and sulfide. In 1984 two bedrock wells
             were installed to allow P.V.S. Chemicals to monitor the two
             RCRA regulated lagoons on the property. A Phase I
             Investigation has been completed. A Phase II Investigation
             report was completed in 1989. As part of the Phase II
             Investigation four additional monitoring wells were installed
             and sampled, the two bedrock wells were also sampled.
             There are also two RCRA-regulated lagoons on the property
             that were used from 1974 to 1984 for the collection of the
             same waste streams. These lagoons were closed 1984, but
             post-closure monitoring of the shallow groundwater was not
             adequate to determine impacts from the lagoons. After
             lengthy negotiations with P.V.S., a Stipulation and Order of
             Settlement was signed between P.V.S. and the NYS
             Attorney General. This agreement called for a number of
             issues to be addressed, including implementation of a
             groundwater and soil investigation. P.V.S. completed both
             the soil and groundwater investigation in 2002. The results
             indicated the groundwater standards are exceeded in
             several areas of the plant site.

Exh. 82. More specifically, the Report stated that “NYS groundwater standards are

exceeded for lead and iron” and “the groundwater ph ranges from 3.2 to 3.9.” Exh. 82.



             On July 15, 2010, the NYSDEC provided PVS Chemicals with a proposed

Order on Consent requiring PVS Chemicals to submit work plans for an Inactive


                                          -13-
      Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 14 of 25




Hazardous Waste Disposal Site Remedial Program, including a Site Characterization

Work Plan; a Remedial Investigation/Feasability Study; Interim Remedial Measure

Work Plan; a Remedial Design/Remedial Action Work Plan; and a Site Management

Plan. Dkt. #80-1.



             PVS Chemicals refused to execute the Consent Order based upon the

terms of the 2002 Order of Settlement. Dkt. #80, ¶ 14.



             By letter dated November 15, 2010, the State of New York responded:

             The purpose of performing the Site Investigation Work Plan
             was, by its terms, to gather and submit to DEC additional
             information regarding environmental conditions at the PVS
             site, obtained mainly through installation and sampling of
             new wells, redevelopment and resampling of existing wells,
             and soil sampling. As stated by DEC representatives at our
             October 27th meeting, it is their review of data contained in
             the reports submitted under the Site Investigation Work
             Plan, together with more recently obtained data concerning
             Buffalo River sediments and adjacent properties, that are
             the bases for the Department’s determination to require
             under applicable law that PVS perform a remedial program,
             consisting of further groundwater and soil-related measures,
             to address hazardous waste conditions at the PVS site.

Exh. 85.



             By letter dated November 24, 2010, the State of New York advised PVS

Chemical that based on the investigative work undertaken pursuant to the 2002 Order

of Settlement, the NYSDEC “has determined that remedial measures are necessary.”

Exh. 86.




                                          -14-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 15 of 25




              By letter dated October 6, 2011, the NYSDEC advised PVS Chemicals

that its facility had been added to the Registry of Inactive Hazardous Waste Disposal

Sites in New York State as a Class 2 site. Exh. 83. The Site Information Report

explains:

              From 1930 to 1977 an unlined seepage pit (lagoon) was
              used to receive various wastewater streams from production
              processes. The liquid wastes included nitric and sulfuric
              acid, sulfur drainings, and nitric rinses containing cadmium
              and other metals. Groundwater monitoring wells were
              installed at the site beginning in 1982 as part of the RCRA
              monitoring program. Additional environmental investigations
              (Phase I and II reports) were completed by 1989. Pursuant
              to a 2002 Stipulation and Order of Settlement between the
              State of New York and PVS Chemicals, Inc., PVS conducted
              a groundwater and soil-related investigation at the site,
              which was completed in 2003. The purpose of the
              investigation was to gather and submit to DEC additional
              information regarding environmental conditions at the site,
              obtained mainly through installation and sampling of new
              wells, redevelopment and re-sampling of existing wells and
              soil sampling. Under the 2002 Stipulation and Order the
              State expressly reserved its right to proceed against PVS for
              any liability that may result from the States determination,
              after review of the reports, submitted upon performance of
              the Site Investigation Work Plan, that further groundwater
              and/or soil-related measures are required by law to be
              performed by PVS. The State also reserved its authority to
              enforce any and all applicable laws for the protection of the
              public health, welfare and the environment.

Exh. 83. The Site Information Report lists sulfuric acid, arsenic, cadmium and

chlorobenzene as contaminants of concern. Exh. 83.



              By letter dated November 8, 2011, PVS Chemicals objected to the re-

listing of the site, noting that “the Site Information Report . . . demonstrates that the

levels of ‘contaminants of concern’ on the Site are substantially unchanged since the


                                             -15-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 16 of 25




1993 de-listing.” Exh. 84. PVS Chemicals noted that

              Environmental surveys of the Site performed by DEC, dated
              January, 1986 and October, 1989 show that those
              “contaminants of concern” appear in groundwater
              concentrations that are comparable to those shown on
              Groundwater Monitoring Reports conducted in 2002, as part
              of the Site Investigation Work Plan required in Article XIII of
              the Order. We are unaware of any testing of conditions at
              the Site that would suggest any change in the levels of
              “contaminants of concern” from DEC’s own testing in 1986
              and 1989, to the de-listing in 1993, to the settlement in 2002,
              to the present.

Exh. 84. PVS Chemicals noted that NYSDEC “has failed to disclose any changes in the

Site itself or any other relevant facts or circumstances that would make the Site any

more of a significant threat to the public health or environment than when DEC de-listed

the Site in 1993 or signed the Stipulation and Order of Settlement with PVS in 2002.”

Exh. 84.



              By letter dated January 20, 2012, NYSDEC relied upon the water

monitoring completed by PVS Chemicals, the NYSDEC Buffalo River Sediment Study,

Buffalo Color Corporation’s Remedial Investigation Report and a 2003 change in the

statutory definition of hazardous waste to support its determination to list the Site. Exh.

87. More specifically, the NYSDEC advised PVS Chemicals that PVS Chemicals’

groundwater monitoring results indicated

              the presence of the hazardous wastes, chlorobenzene,
              arsenic and cadmium in concentrations as high as 3.7 parts
              per million (ppm), 7.16 ppm and 5.7 ppm respectively.
              These concentrations exceed the applicable groundwater
              quality standard . . . . The data also indicated that the
              groundwater in five of the nine wells exhibited a pH lower
              than the groundwater quality standard of 6.5. Finally, the
              water level data contained in the MACTEC Remedial

                                            -16-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 17 of 25




              Investigation Report indicates that the downward movement
              of groundwater is restricted and moves laterally toward the
              Buffalo River.

              Laboratory analysis of Buffalo River sediment samples taken
              adjacent to the Site as part of the Buffalo River Sediment
              Study indicated the presence of these same hazardous
              wastes.

                                              ***

              Effective October 7, 20032 the legislature amended ECL 27-
              1301.1 by expanding the definition of hazardous waste to
              include hazardous substances. ECL 27-1301.1 now defines
              hazardous waste as “. . . waste which appears on the list or
              satisfies the characteristics promulgated by the
              commissioner pursuant to section 27-0903 of this article and
              any substance which appears on the list promulgated
              pursuant to section 37-0103 of this chapter; . . .” (Italics
              added). This List of Hazardous Substances is found in Table
              1 under 6 NYCRR 597.2. To qualify as a hazardous
              substance appearing on the List of Hazardous Substances,
              it is not necessary to know the industrial process that
              generated the substance. It suffices simply to show that a
              particular substance appears on the List of Hazardous
              Substances.
              Chlorobenzene, arsenic and cadmium each appear in the
              Site’s groundwater in concentrations exceeding groundwater
              standards. Arsenic and cadmium appear in the Buffalo River
              sediment in concentrations exceeding levels of protection.
              Chlorobenzene, arsenic and cadmium also appear on the
              List of Hazardous Substances. Because of the expanded

       2
         Prior to October 7, 2003, ECL 27-1301.1 defined hazardous waste as “a waste which
appears on the list or satisfies the characteristics promulgated by the commissioner pursuant to
section 27-0903 of this chapter . . . “

       As of October 7, 2003, ECL 27-1301.1 defines hazardous waste as “a waste which
appears on the list or satisfies the characteristics promulgated by the commissioner pursuant to
section 27-0903 of this article and any substance which appears on the list promulgated
pursuant to section 37-0103 of this chapter provided, however, that the term “hazardous waste”
does not include: . . . .”

      The Court notes that the State of New York’s Second Amended Complaint, filed prior to
the amendment, alleges that the spilled acidic materials were hazardous wastes as defined by
New York law. Exh. 45, ¶ 59.

                                              -17-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 18 of 25




              definition of hazardous wastes that now includes hazardous
              substances and the considerations noted above, the
              Department placed the Site on the Registry and classified
              the Site as significant threat to public health or the
              environment.

Exh. 87.



              By Notice of Motion filed March 16, 2012, PVS Chemicals sought an

Order directing the State of New York to remove its facility from the registry of Class 2

Inactive Hazardous Waste Disposal Sites; precluding the State of New York from

commencing further proceedings relating to environmental conditions known to it at the

time of the 2002 Order of Settlement, and granting PVS Chemicals’ costs and

attorneys’ fees related to this motion. Dkt. #80.



              By Decision and Order entered January 2, 2014, this Court determined:

              The 2002 Order of Settlement resolves “all pending civil
              claims and liabilities against [PVS Chemical] that are alleged
              in the complaint and occurred at the facility prior to the
              effective date of this Stipulation and Order.” Dkt. #73, pp.12.
              The complaint encompassed claims of disposing of
              pollutants to the ground and maintaining illegal solid and
              hazardous waste activities and contaminant conditions at
              PVS Chemicals’ Buffalo facility. Dkt. #1 & Dkt. #73, p.1. In
              addition, the State was aware of the soil conditions at the
              time of the 2002 Order of Settlement and there is no dispute
              that these conditions have remained constant subsequent to
              the 2002 Order of Settlement. Dkt. #80, ¶¶ 13, 26 & 27.
              Thus, the State of New York did not utilize the results of the
              site investigation work plan conducted by PVS Chemicals
              pursuant to the 2002 Order of Settlement to determine that
              further groundwater and/or soil-related remediation
              measures were necessary nor does it rely upon newly
              discovered information about the conditions at the site to
              justify further administrative action. Dkt. #80, ¶ 7.
              Accordingly, the unambiguous language of the release

                                            -18-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 19 of 25




              prevents the State of New York from proceeding against
              PVS Chemicals with respect to any groundwater and/or soil-
              related measures relating to conditions known to exist at the
              time of the 2002 Order of Settlement. This determination
              does not usurp the State’s authority to determine that these
              hazardous wastes constitute a significant threat to the public
              health or environment and to develop and implement an
              inactive hazardous waste disposal site remedial program for
              the site, however, but only enforces the State of New York’s
              release of PVS Chemicals for the costs of any such
              remediation.

Dkt. #87, pp.7-8. As a result, the Court precluded the State of New York from

commencing further proceedings against PVS Chemicals to develop, implement or fund

an inactive hazardous waste disposal remediation program for PVS Chemicals’ Buffalo

facility relating to environmental conditions known to it at the time of the 2002 Order of

Settlement. Dkt. #87, p.8.



              The Court of Appeals for the Second Circuit determined:

                 There is a reasonable basis for interpreting the
                 contract to release all civil claims against PVS based
                 on environmental conditions known to New York as of
                 the effective date of the settlement order. The
                 settlement order's Reservation of Rights clause,
                 which reserves “[t]he State's right to proceed against
                 [PVS] for any liability that may result from the State's
                 determination, after review of [site investigation
                 reports submitted by PVS], that further groundwater
                 and/or soil-related measures are required by law to
                 be performed by [PVS],” can be read to apply only
                 where, on the basis of its review of the site
                 investigation reports, New York discovers new or
                 worsened environmental conditions that require
                 “further” remediation. However, the Reservation of
                 Rights clause can also reasonably be read to
                 encompass environmental conditions known to New
                 York when the District Court filed the settlement
                 order. The clause is not explicitly limited to unknown

                                            -19-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 20 of 25




                   or worsened environmental conditions, nor does it
                   state that New York must base its decision to initiate
                   further proceedings on its review of the site
                   investigation reports.

New York v. PVS Chemicals, Inc. (New York), 589 F. App'x 10, 11 (2d Cir. 2014).

Having concluded that the language of the settlement order was ambiguous, the Court

of Appeals vacated the Court’s determination insofar as it enjoined New York from

commencing remediation proceedings against PVS and remanded the case back to this

Court to afford the parties a full opportunity to present extrinsic evidence as to the

parties’ intent. Id.



               On April 23, 2015, Buffalo Niagara Riverkeeper observed construction

activity at PVS Chemicals and requested an investigation of the Site by NYSDEC.



               The NYSDEC issued a complaint on August 19, 2015. Dkt. #103-1. On

September 9, 2015, the NYSDEC issued an amended complaint charging PVS

Chemicals with disturbing soils at the Site, thereby interfering with a remedial program

at the site without notifying the NYSDEC; failing to obtain a State Pollutant Discharge

Elimination system (“SPDES”) General Permit for Stormwater Discharges from

Construction Activity - GP-0-15-2 as required when disturbing soil; and failing to control

erosion and sediment in compliance with SPDES Permit - NY 0110043 regarding

discharges into the Buffalo River. Dkt. #103-2.



               In its Answer, PVS Chemicals disputes the propriety of the listing of the

Site on the Registry and disputes the existence of a remedial program, except to the


                                             -20-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 21 of 25




extent that the terms of the 2002 Order of Settlement constitutes a remedial program, in

which case PVS Chemicals argues that any dispute regarding such terms must be

resolved pursuant to the dispute resolution procedures set forth in that Order. Dkt.

#103-4. Moreover, PVS Chemicals argues that there are no allegations that it failed to

control erosion and sediment in violation of the SPDES Permit and that its construction

activities, which were subject to a construction permit issued by the City of Buffalo, did

not take place within the parameters of the watershed and did not disturb more than

one acre of soil. Dkt. #103-4. Finally, PVS Chemicals argues that it has a permit to

remove excavated soil from the Site and submits the results of independent tests

demonstrating that the soil tested nonhazardous and was properly manifested and

disposed of at a permitted facility. Dkt. #103-4.



              PVS Chemicals seeks a stay and transfer of the NYSDEC proceedings to

this Court for resolution pursuant to the 2002 Order of Settlement. Dkt. #103.



                             DISCUSSION AND ANALYSIS

              The State of New York argues that the circumstances surrounding the

drafting and execution of the settlement agreement demonstrate that it reserved its

rights to proceed against PVS Chemical for groundwater remedial measures after

review of the Site investigation results and that this reservation of rights was agreed to

by PVS as an express exception to the release section of the settlement agreement.

Dkt. #98, p.21.




                                            -21-
        Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 22 of 25




               PVS Chemicals argues that during extensive negotiations, the parties

moved from a list of open ended objectives to a stipulated order of settlement which

resolved all known issues. Dkt. #99, pp.3-5. More specifically, PVS Chemicals argues

that there is no reasonable basis for the State of New York to believe that the release it

gave for known site conditions would allow the same conditions to be the basis for the

2011 relisting and demand for remediation. Dkt. #99, p.13. PVS Chemicals asserts that

no new information has been received which justifies relisting the site and emphasizes

that it is undisputed that the groundwater and soil conditions at the site are virtually

unchanged since before the 2002 Order of Settlement. Dkt. #102, p.8. Dkt. #99, p.22.



              The State of New York responds that it accepted the groundwater

investigation offered by PVS Chemical as a way to move the regulatory ball forward but

would not have afforded PVS Chemicals a pass on the consequences of the results of

such investigation. Dkt. #101, p.3. More specifically, the State of New York asserts that

it reserved its rights to determine that groundwater remediation was necessary. Dkt.

#101, p.3. Pursuant to New York Environmental Conservation Law § 27-1305(2)(b), the

State of New York notes that it has an ongoing obligation to “assess and, based on new

information, reassess,” the listing of hazardous waste sites in order to redress

environmental problems. Dkt. #101, p.11. The State of New York also emphasizes that

the legislature expanded the definition of hazardous waste to include the hazardous

substances contaminating the site subsequent to the settlement agreement. Dkt. #101,

p.11.




                                            -22-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 23 of 25




              Where the contract language creates ambiguity, the Court may consider

extrinsic evidence as to the parties’ intent. JA Apparel Corp. v. Abboud, 568 F.3d 390,

397 (2d Cir. 2009). If such evidence exists, the meaning of the ambiguous contract is a

question of fact for the factfinder. Id. Ambiguity alone is not enough to preclude

summary judgment, however. Mellon Bank, N.A. v. United Bank Corp. of N.Y., 31 F.3d

113, 116 (2d Cir. 1994). “Ambiguity without the existence of extrinsic evidence of intent

presents not an issue of fact, but an issue of law for the court to rule on.” Williams &

Sons Erectors v. South Carolina Steel, 983 F.2d 1176, 1183-84 (2d Cir. 1993). Thus,

the “Court may resolve the ambiguity in the contractual language as a matter of law if

there is no extrinsic evidence to support one party’s interpretation of the ambiguous

language or if the extrinsic evidence is so one sided that no reasonable factfinder could

decide contrary to one party’s interpretation.” Compagnie Financiere de CIC et de

L’Union Europenne v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 232 F.3d 153, 159

(2d Cir. 2000).



              To decide in favor of the State of New York, a fact finder would have to

believe that PVS Chemicals spent years negotiating a settlement which left it open to

liability for remediation of the same environmental conditions that existed when the

NYSDEC removed the site from the Registry in 1993. Furthermore, a fact finder would

have to ignore the fact that the settlement resolves all pending civil claims and liabilities

except those which the State lacks knowledge or which occurred after the execution of

the settlement. There is no dispute but that the hazardous substances set forth in the



                                            -23-
       Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 24 of 25




Site Information Reports justifying the addition of the facility to the Registry in 2011, to

wit, sulfuric acid, arsenic, cadmium, chlorobenzene, lead and iron, are the same

substances identified in the investigations preceding the second amended complaint.

There are also no allegations of subsequent releases. Furthermore, negotiations over

the language in the 2002 Order of Settlement demonstrate that the State of New York

removed its demand for remediation of groundwater related issues in anticipation of a

partial release reserving the parties’ rights to negotiate remediation following completion

of the Site Investigation Work Plan, but then agreed to remove language denoting the

Order as a Partial Settlement. As a result, it remains the determination of this Court

that the State of New York is precluded from commencing further proceedings against

PVS Chemicals to develop, implement or fund an inactive hazardous waste disposal

remediation program for PVS Chemicals’ Buffalo facility relating to environmental

conditions known to it at the time of the 2002 Order of Settlement. However, the

determination as to whether the property is properly listed on the Registry and whether

PVS Chemicals’ complied with environmental regulations during construction on the

property in 2015 is beyond the purview of the 2002 Order of Settlement and most

appropriately addressed within the NYSDEC administrative process.



                                       CONCLUSION

              The State of New York is precluded from commencing further proceedings

against PVS Chemicals to develop, implement or fund an inactive hazardous waste

disposal remediation program for PVS Chemicals’ Buffalo facility relating to



                                             -24-
      Case 1:97-cv-00596-HKS Document 105 Filed 07/27/18 Page 25 of 25




environmental conditions known to it at the time of the 2002 Order of Settlement. The

remainder of PVS Chemicals’ request for relief is denied.



             SO ORDERED.



DATED:       Buffalo, New York
             July 27, 2018

                                        s/ H. Kenneth Schroeder, Jr.
                                        H. KENNETH SCHROEDER, JR.
                                        United States Magistrate Judge




                                          -25-
